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                  ORAL ARGUMENT NOT YET SCHEDULED

              IN THE UNITED STATES COURT OF APPEALS
              FOR THE DISTRICT OF COLUMBIA CIRCUIT


 STATE OF UTAH, et al.,
                                         On Petition for Review of Final Action
       Petitioners,                      of the United States Environmental
                                         Protection Agency

                                         Case No. 23-1157
             v.                          (and consolidated cases)



 UNITED STATES
 ENVIRONMENTAL PROTECTION
 AGENCY, and MICHAEL S. REGAN,
 Administrator,

       Respondents.


  UNOPPOSED MOTION BY GRID EXPERTS BENJAMIN F. HOBBS,
  BRENDAN KIRBY, KENNETH J. LUTZ, & SUSAN F. TIERNEY FOR
         LEAVE TO PARTICIPATE AS AMICI CURIAE

      Pursuant to Federal Rule of Appellate Procedure 29(b) and D.C. Circuit Rule

29(b), Benjamin F. Hobbs, Brendan Kirby, Kenneth J. Lutz, and Susan F. Tierney

(collectively, “Grid Expert Amici”) respectfully move for leave to participate as

amici curiae in support of the Respondents Environmental Protection Agency

(“EPA”) and Michael S. Regan, EPA Administrator.
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      Grid Expert Amici consulted with the parties to these consolidated cases

regarding this motion. Counsel for the federal respondents and for environmental

non-governmental organization respondent-intervenors have provided the consent

of their clients to this motion, as did counsel for several other movant intervenors in

support of federal respondents, including: the States of New York, Connecticut,

Delaware, Illinois, Maryland, New Jersey, and Wisconsin; the Commonwealths of

Massachusetts and Pennsylvania; the District of Columbia; the City of New York;

and Harris County, Texas. Additionally, counsel for all other parties stated that their

clients did not oppose this motion or took no position as to this motion.

      In support of this motion, Grid Expert Amici state as follows:

      1.     Grid Expert Amici have expertise in the operation, regulation, and

reliability of the U.S. power system; grid structure, economics, and modernization;

integration of renewable energy generation; and power-system reliability and

planning.

      2.     Benjamin Hobbs is the Theodore M. and Kay W. Schad Professor in

Environmental Management in the Department of Environmental Health and

Engineering at Johns Hopkins University (“JHU”). He has a joint appointment in the

Department of Applied Mathematics and Statistics, and is Global Director of the

Electric Power Innovation for a Carbon-free Society, a multi-country research center

supported by the National Science Foundation. He is also on the Leadership Council

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of the JHU O’Connor Sustainable Energy Institute. His research focuses on electric

power and energy market planning, risk analysis, and environmental and energy

systems analysis and economics. He is Chair of the California Independent System

Operator Market Surveillance Committee and a Fellow of Life Fellow at the Institute

of Electrical and Electronics Engineers and the Institute of Operations Research and

Management Science. He was also a consultant to the PJM Independent System

Operator and developed the methodology it uses to create its capacity market

demand curve as part of its original Reliability Pricing Model. From 1995 to 2002,

he was consultant to the Federal Energy Regulatory Commission’s Office of the

Economic Advisor. He holds a Ph.D. in Environmental Systems Engineering from

Cornell University.

      3.    Brendan Kirby is a private consultant with clients including the Hawaii

Public Utilities Commission, Grid Lab, National Renewable Energy Laboratory,

Energy Systems Integration Group, Electric Power Research Institute, American

Wind Energy Association, Oak Ridge National Laboratory, and others. He has forty-

nine years of electric grid experience, and has published over 180 papers, articles,

book chapters, and reports on power system reliability and integrating renewable

energy generation into the power grid. He was a member of the North American

Electric Reliability Corporation’s Essential Reliability Services Task Force, and

previously served on its Standards Committee. He retired from the Oak Ridge

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National Laboratory’s Power Systems Research Program. He is a Licensed

Professional Engineer with an M.S. degree in Electrical Engineering (Power Option)

from Carnegie Mellon University and a B.S. in Electrical Engineering from Lehigh

University.

      4.      Kenneth J. Lutz is an Affiliated Professor in the Department of

Electrical and Computer Engineering at University of Delaware, where he does

research and teaches specially designed courses on the modernization of the electric

grid. He has decades of experience in the regulation of utilities. He founded AMR

Strategies, LLC, to help utilities modernize their grids. Previously, he served as an

IEEE/American Association for the Advancement of Science Congressional Fellow

for United States Senator Ron Wyden, where he played a key role in drafting federal

legislation for renewable energy and energy efficiency. He has a Ph.D. in electrical

engineering from the Johns Hopkins University and a B.E.E. from the University of

Delaware.

      5.      Susan Tierney is a Senior Advisor at Analysis Group. She is an expert

on energy economics, regulation, and policy, particularly in the electric and gas

industries. She has consulted to and been an expert witness on behalf of businesses,

federal and state governments, tribes, environmental groups, energy consumers,

foundations, and other organizations on energy markets, economic and

environmental regulation and strategy, and energy projects. Previously, she served

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as the Assistant Secretary for Policy at the U.S. Department of Energy. She was the

Secretary of Environmental Affairs in Massachusetts, a Commissioner at the

Massachusetts Department of Public Utilities, and Executive Director of the

Massachusetts Energy Facilities Siting Council. Dr. Tierney has authored numerous

articles and spoken frequently at industry conferences. She serves on a number of

boards and advisory committees, including chairing the Board of Resources for the

Future and chairing the National Academies’ Board on Energy and Environmental

Systems. She is a member of the advisory councils at the New York University’s

Institute for Policy Integrity and the New York Independent System Operator. She

was a member of several of National Academies’ expert committees, including on

The Future of Electric Power in the U.S. (2021) and Enhancing the Resilience of the

Nation’s Electric Power Transmission and Distribution System (2017). She

previously chaired the Department of Energy’s Electricity Advisory Committee and

served on the U.S. Secretary of Energy Advisory Board and the U.S. Environmental

Protection Agency’s Clean Air Act Advisory Council. She earned her Ph.D. and

M.A. in regional planning at Cornell University and her B.A. at Scripps College.

      6.    On June 5, 2023, EPA published its final version of the “Good

Neighbor Plan” for the 2015 Ozone National Ambient Air Quality Standards, which

sets forth the federal implementation plan for nitrogen oxides attainment under the

Clean Air Act, 42 U.S.C. § 7401 et seq. 88 Fed. Reg. 36,654 (June 5, 2023).

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Petitioners have filed these consolidated cases seeking judicial review of the Good

Neighbor Plan.

      7.     Grid Expert Amici have an interest in the integrity and reliability of

electricity infrastructure, and the efficiency of its management and regulation. Grid

Expert Amici believe that the Good Neighbor Plan poses no material threat to grid

reliability and is consistent with the twin aims of the grids: power reliability and

affordability for all consumers.

      8.     Grid Expert Amici seek leave to participate as amici curiae in this

proceeding so that they may aid the Court in understanding the unique physical

features of electricity and the electric grids, and the relevance of those features to

the rule at issue in this case. Grid Expert Amici would also aim to clarify what they

see as common misunderstandings and confusion about how electric grids function,

and why. Petitioners have raised arguments about the effect of the Good Neighbor

Plan on grid operations and on grid reliability. See, e.g., Opening Br. of Industry

Pet’rs at 82. Grid Expert Amici are well positioned to offer perspectives on

maintenance of electric reliability, grid management, and how the power system

responds to pollution controls such as the Good Neighbor Plan. No other amici of

which we are aware share these perspectives, or plan to address these specific issues.

      9.     D.C. Circuit Rule 29 permits the filing of a motion for leave to

participate as amici curiae up to seven days after the filing of the principal brief of

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the party being supported, but encourages the filing of a notice of intent as soon as

practicable. Grid Expert Amici are filing this motion as soon as practicable.

      10.    If permitted to file an amicus brief, Grid Expert Amici would file a

document within the briefing schedule established by this Court for all briefs and

within any proscribed word limitations.




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      WHEREFORE, the proposed Grid Expert Amici respectfully request leave to

file a brief of amici curiae pursuant to the schedule and any other direction, including

word limitations, established by the Court.

                                               Respectfully submitted,

                                                  /s/ Cara Horowitz

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                                               Counsel for Amici Curiae

Dated: June 24, 2024




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                       CERTIFICATE OF COMPLIANCE

      This motion complies with Federal Rules of Appellate Procedure 27

(d)(1)&(2) and 29(b) and D.C. Circuit Rule 29(c) because it meets the proscribed

format requirements, does not exceed 20 pages, and is being filed as promptly as

practicable after the case was docketed in the Court. This motion also complies with

the typeface requirements of Federal Rule of Appellate Procedure 32(a)(5) and the

type style requirements of Federal Rule of Appellate Procedure 32(a)(6) because this

brief has been prepared in a proportionally spaced typeface using Microsoft Office

Word in 14-point Times New Roman font.


                                                      /s/ Cara Horowitz
                                                   Cara Horowitz

Dated: June 24, 2024




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           CERTIFICATE AS TO PARTIES AND AMICI CURIAE

      Pursuant to D.C. Circuit Rule 28(a)(1)(A), counsel certifies as follows: except

for the Grid Expert Amici, all parties, intervenors, and amici appearing in this Court

are, to the best of my knowledge, listed in the Joint Certificate as to Parties, Rulings,

and Related Cases and Respondent EPA’s Initial Brief, ECF No. 2060371.



                                                          /s/ Cara Horowitz
                                                             Cara Horowitz


Dated: June 24, 2024




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                         CERTIFICATE OF SERVICE

      I hereby certify that, on this 24th day of June, 2024, I caused the foregoing to

be electronically filed with the Clerk of the Court for the United States Court of

Appeals for the District of Columbia Circuit using the Court’s CM/ECF system,

which will send notice of such filing to all counsel who are CM/ECF registered users.


                                                        /s/ Cara Horowitz
                                                           Cara Horowitz

Dated: June 24, 2024




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